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UNITED STATES BANKRUPTCY COURT
Middle District of Florida
_____________________________________________________________________________
In Re:                                                                   Case No.

 H2O Investment Properties LLC

                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER
                 H2O Investment Properties LLC
          I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

   If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

  ■   If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


       04/02/2023
Dated: _____________________________

        /s/
Signed: _______________________________________                              ______________________________________________
                    (Applicant)                                                             (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.
      04/02/2023
Dated:_____________________________                                               /s/ Mike Dal Lago
                                                           Attorney for Debtor(s) _________________________________________
                                                                                   Mike Dal Lago
                                                                                   _________________________________________
                                                                                999 Vanderbilt Beach Rd. Suite 200
                                                           Address of Attorney _________________________________________
                                                                                    Naples, FL 34108
                                                                                   _________________________________________
